Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

MMR CMe liuircidefai cele (lalei aan aa (cater:[oi-m

 

United States Bankruptcy Court for the:

Eastern District of _New York
(State)
Case number (if known) Chapter _11

 

QO) Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1.. Debtor’s name RBGB HAMPTONS HOME LLC

 

2. All other names debtor used

 

in the last 8 years

 

Include any assumed names,

 

trade names, and doing business

 

as names

 

3. Debtor’s federal Employer

 

 

 

 

 

 

 

 

 

 

verge 87 ~1 7 4 3 7 4 4
Identification Number (EIN) oe
4. Debtor’s address Principal place of business Mailing address, if different from principal place
of business
4 Ganley Lane
Number Street Number Street
P.O. Box
East Hampton NY 11937
City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business
Suffolk
County
Number Street
City State ZIP Code

5. Debtor’s website (URL)

 

Official Form 204 Voluntary Petition for Non-individuals Filing for Bankruptcy page 1
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

RBGB HAMPTONS HOME LLC

Debtor

Case number (if known)

 

Name

6. Type of debtor

7. Describe debtor’s business

 

) Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q) Partnership (excluding LLP)
Q) Other. Specify:

 

A. Check one:

OJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
X) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Railroad (as defined in 11 U.S.C. § 101(44))

O) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))

CI None of the above

B. Check all that apply:

L) Tax-exempt entity (as described in 26 U.S.C. § 501)

C) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

CL} Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

Official Form 201

Check one:

C) Chapter 7
C) Chapter 9
(4 Chapter 11. Check all that apply:

() The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

CJ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

C} A plan is being filed with this petition.

C) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

C) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

(J The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie
12b-2.

CJ Chapter 12

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case o-25-/2504-asl

RBGB HAMPTONS HOME LLC

 

 

 

Doc 1. Fued Vofe/izo Entered O0/2//25 LoiQo10o

 

 

 

 

Case number

Case number

Relationship

When
MM / DD /YYYY

Debtor - Case number (known)
Jame

9. Were prior bankruptcy cases &] No

filed by or against the debtor

within the last 8 years? Yes. District When

MM/ DD/YYYY
lf more than 2 cases, attach a .
separate list. District When
MM/ DD/YYYY

10, Are any bankruptcy cases XJ No

pending or being filed by a

business partner or an Yes. Debtor

affiliate of the debtor? District

List ali cases. If more than 1,

attach a separate list. Case number, if known
11. Why is the case filed in this Check all that apply:

district? . _. 4

4 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.
Qa bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own orhave &)No

possession of any real
property or personal property
that needs immediate
attention?

C) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

CJ it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

C} It needs to be physically secured or protected from the weather.

CI It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

() Other

 

Where is the property?

 

Number Street

 

 

City

is the property insured?

No
L) Yes. insurance agency

State ZIP Code

 

Contact name

 

Phone

 

ae. Statistical and administrative information

 

Official Form 201

Voluntary Petition for Non-Individuais Filing for Bankruptcy

page 3
Jun 26 2023 10:0%545

RBGB HAMPTONS HOME LLC

Debtor

 

Name

13. Debtor's estimation of Check one:

available funds

ase o-25-/25U04-aSt DOC 1L Filed Vd/e/iz5o Entered Oo/2//25 LoiQo Uo

Case number tif known)

(1 Funds will be available for distribution to unsecured creditors.

6

 

After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

&) 1-49
14. Estimated number of Q 50-99
creditors QD 100-199
LJ 200-999
C) $0-$50,000

18. Estimated assets Q $50,001-$100.000

C) $100,001-$500,000
J $500,001-$1 million

CI $0-$50,000

Q) $50,001-$160,000
@ $100,001-3500,000
C) $500,001-$1 million

16. Estimated liabilities

OQ 1,000-5,000
UJ 5,001-10,000
LJ 10.001-25,000

C) $1,000,001-$10 million

CY $10,000,001-$50 million
CF §50.000,001-$100 miltion
QO) $100,000,001-$500 million

Cd $1,000,001-S10 million
C] $10,000,001-S50 million
(CJ $50,000,001-$100 million
(9 $100,.000,001-$500 million

CI] 25,001-50,000

C) 50,001-100,000
C) More than 100,000

C} $500,000,001-S1 billion

Q) $1,000,000,001-$10 billion
C) $10.000,000,001-$50 billion
Q) More than $50 biltion

C) $500,000,001-3$1 billion

Q) $1,000,000,001-$10 billion
O $10,000,000,001-$50 billion
Q) More than $50 billion

ie for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code. specified in this
petition.

! have been authorizes to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonabie belief that the information is true ang
correct

| declare under penalty of perjury that the foregoing is true and correct.
Executed on 06/26/2023

MM /D
* aoe Gary Brifil

7
Signature of authorized representeiueobdeerer Printed name

Title President

 

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

RBGB HAMPTONS HOME LLC

 

 

 

Debtor Case number (if known).
Name
18. Signature of attorney x ( Po) DVica. Date 06/26/2023
Signature of attorney for debtor MM /DD /YYYY

Andrew G. Neal

 

Printed name

Law Offices of Andrew G. Neal

 

 

 

 

 

Firm name
137-32 Jamaica Avenue 2nd Floor
Number Street
Jamaica NY 11435
City State ZIP Code
718-558-5725 Andrewnealesq.@aol.com
Contact phone Email address
2613289 NY
Bar number State

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
, -23- - Q3°06
Jun 26 2023 10:4 55tRE 0-29-/2904-ast VOCl Filed VU0/2Zfiz5 Entered Od0/cfics Lo

STRUM nce uci hON lites tisrc MU eglital:

RBGB HAMPTONS HOME LLC

Debtor Name

District of _ NY
(State)

Case number {(/fkaown)

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,

and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date, Bankruptcy Rules 1008 and 9011,

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

ep Declaration and signature

1 am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership, or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and coirect:

Schedule A/B: Assets~Real and Personal Property (Otficial Form 206A/B)
Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Otficiat Form 206E/F)
Schedule G. Executory Contracts and Unexpired Leases (Official Form 206G}
Schedule H: Codebtors (Officiat Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule

Chapter 17 or Chapter 8 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders {Official Form 204}

OO pooogoso

Other document that requircs a declaration

 

| declare under penalty of perjury that the foregoing !s true and correct.

 

Execuled on 06/26/2023 x
MM/DD/YYYY Sig ature of individual signing on behalf Sram
£

 

 

Gary Brifil

Printed name

President
Pasition or relationship to debtor

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
Case o-25-/2504-asl

UTMOST sTUcu Msn Cots (stat bem item erskt

Debtor name
United States Bankruptcy Court for the:

Case number (If known):

 

Doc Lt FEM Ofc fizs

RBGB HAMPTONS HOME LLC
Eastern

District of [NY
(State)

 

Official Form 206D

 

entered Vo/2 f/25 LotQo°Us6

L) Check if this is an

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
O No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

&@ Yes. Fill in all of the information below.

Ea List Creditors Who Have Secured Claims

amended filing

12/15

 

| 2, List in alphabetical order all creditors who have secured claims. If a creditor has more than one
: secured claim, list the creditor separately for each claim.

Creditor’s name

Citi Bank, N.A.,

 

Creditor’s mailing address

P.O. Box 6500
Sioux Falls, SD 57117

 

Creditor’s email address, if known

 

 

01/14/2005
65 7 2

Date debt was incurred

Last 4 digits of account
number

Do multiple creditors have an interest in the
same property?
No
C) ves. Specify each creditor, including this creditor,
and its relative priority.

 

 

Ee Creditor’s name

 

Column A Column B
Amount of claim Value of collateral
Do not deduct the value that supports this
of collateral, claim
Describe debtor’s property that is subject to a lien
Residential ¢ 225,961.60 5 9000.000.00

 

 

Describe the lien

 

Is the creditor an insider or related party?
® No
Cl Yes

Is anyone else liable on this claim?

M2 No

Q) Yes. Fill out Schedule H. Codebtors (Official Form 206H),

As of the petition filing date, the claim is:
Check all that apply.

& Contingent
Unliquidated
QO Disputed

 

Describe debtor's property that is subject to al

 

 

 

 

 

 

 

 

 

 

won Page, if any,

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

$_ 525,961.60

$ $
Creditor’s mailing address
Describe the lien
Creditor's email address, if known Is the creditor an insider or related party?
OQ) No
QO) yes
Date debt was incurred Is anyone else liable on this claim?
ee OO No
Last 4 digits of account QO Yes. Fill out Schedule H: Codebtors (Official Form 206H).
number —
Do multiple creditors have an interest in the As of the petition filing date, the claim is:
same property? Check all that apply.
No O) Contingent
QO) Yes. Have you already specified the relative Unliquidated
priority? Q Disputed
QD no. Specify each creditor, including this
creditor, and its relative priority.
L) Yes. The relative priority of creditors is
See eG OPN NS en ana oscccn A snag pmeasnensneccanantennangaiagsany evipyovtintvvtivneveiascs espn to tisesetl
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional

 

page 1 of 1_
pase o-25-/25U4-aSt DOC Ll Filed Vo/ie/izo Entered 00/2 //25 Lo:Qo 100

Jun 26 2023 10:02pm

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

wrew. yeh uscourts coy

    

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S):RBGB HAMPTONS HOME LLC CASE NO.:

Pursuant to Local Bankruptcy Rule [073-2(b), the debtor (or any other petitioncr) hereby makes the following disclosure concerning

Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cases” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the carlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases {i) are the same; (ii) are spouses or ex-spouses; (iii)
are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (v1) are partnerships which share one or more common genera! partners, or (vi) have, or within 180 days of the commencement of either
of the Related Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

wl
3

a

NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [closed Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A4/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN

SCHEDULE “A/B” OF RELATED CASES:

 

CASE NO.: JUDGE: DISTRICT/DIVISION: _
CASE PENDING: (YES/NO): [2/ closed) Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, ete.

MANNER IN WHICH CASES ARE RELATED: (Kefer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS — REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

 
Jun 26 2023 10:0 Ape 0-290-/2904-ast VOC Ll Filed U0/Zfizo Entered OVo/2/i25 LoiQa°Uo
un

(OVER
DISCLOSURE OF RELATED CASES (cont’d)

3. CASE NO.: JUDGE: DISTRICT/DIVISION:

CASE PENDING: (YES/NO): [f closed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B — PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF

RELATED CASES: _

 

SCHEDULE A/B: ASSETS —- REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible ta be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

Tam admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penaity of perjury that the within bankruptcy case is not related to any Case pending or pending at any time, except as
indicated elsewhere on this form.

a
-

_ is —
Signature of Debtor’s Attorney Signature of Pro-se Debtof/Petitidner

 

4 Ganley Lane
Mailing Address of Debtor/Petitioner

East Hampton, NY 11937
City, State, Zip Code

 

Email Address

5166433216

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.
HASE O-L9- - FED UOic liza ENlered UOi2 f/25 19:09-06
Jun 26 2023 10:08#PE Oreo" f20U4-ast DOC 1

EASTERN DISTRICT OF NEW YORK

In Re:
Case No.:

RBGB HAMPTONS HOME LLC.

Federal Employer.: XX-XXXXXXX
Identification Number (EIN)

MAILING MATRIX

Chapter 1]

(The penalties for making a false statement or concealing property is a fine of up to
$500,000 or imprisonment for up to 5 years or both. - U.S.C. Sects. 152 and 3571.)

I, RBGB HAMPTONS HOME LLC, named as debtor in this case, declare under penalty
of perjury that ] have read the foregoing Mailing Matrix, consisting of one page, and that
it ts true and correct to the best of my information and belief.

June 26, 2023

   

, Debtor
2 -Z29- - Lt Filed Of/¢2/i2Z5 Entered VO/z2 fiz 19:007060
Jun 26 2023 10:0200F © 0-29-/2504-asSt VOC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

Xx
In Re: Case No.
RBGB HAMPTONS HOME LLC

 

Chapter ;,

Debior(s)

VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the

creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.

Dated: 96/26/2023

 

Joint Debtor )

s/
Attorney for Debtor

USBC-44 Rey. 11/13
Jun 26 2023 100260 © 0-290-/2904-ast VOC Ll Filed U0/Zfizo Entered OVo/2/i25 LoiQa°Uo 5

CIT] BANK, N.A.,

C/O KNUCKLES, KOMOSINSKI & MANFRO, LLP
565 TATER ROAD, SUIT 590

ELMSFORD, NY 10523
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

Bargain and Sale Deed, with Covenant against Grantor’s Acts — Individual or Corporation (Single Sheet)

CONSULT YOUR LAWYER BEFORE SIGNING THIS INSTRUMENT—THIS INSTRUMENT SHOULD BE USED BY LAWYERS ONLY.

 

THIS INDENTURE, made the 19 day of JULY, in the year 2021

BETWEEN
REGINALD BORGELLA, DDS RESIDING AT 4 GANLEY LANE, EAST HAMPTON, NY 11937

parly of the first part, and RBGB HAMPTONS HOME LLC DOING BUSINESS AT 1407"! AVENUE, NEW YORK NY
10011

party of the second part,
WITNESSETH, that the party of the first part, in consideration of

dollars
paid by the party of the second part, does hereby grant and release unto the party of the second part, the heirs or successors
and assigns of the party of the second part forever,

ALL that certain plot, piece or parcel of land. with the buildings and improvements thereon erected, situate, lying and being
in the (see Schedule “A” attached hereto)

Premises commonly known as: 4 Ganley Lane, East Hampton, New York 11937,

Section: 182.00; Block: 01.00; Lot: 004.001

TOGETHER with all right, tithe and interest, if any, of the party of the first part in and to any streets and roads
abutting the above described premises to the center lines thereof! TOGETHER with the appurtenances and all the estate
and rights of the party of the first part in and to said premises; TO HAVE AND TO HOLD the premises herein granted
unto the party of the second part, the heirs or successors and assigns of the party of the second part lorever.

AND the party of the first part covenants that the partly of the first part has aot doac or suffered anything whereby the said
premises have been encumbered in any way whatever, except as aforesaid.

AND the party of the first part, in compliance with Section 13 of the Lien Law, covenants that the party of the first part will
receive the consideration for this conveyance and will hold the right to receive such consideration as a trust fund to be applied
first for the purpose of paying the cost of the improvement and will apply the same first to the payment of the cost af the
improvement before using any part of the total of the same for any other purpose, The word “party” shall be construed as if it
read “parties” whenever the sense of this indenture so requires.

IN WITNESS WHEREOF, the party of the first part has duly executed this deed the day and year first above wrilten.

LA Y A LA, Vl

IN PRESENCE OF:

 

 

bec LLA, bbs, RE cya

 

 
Case o-25-/2504-asl

ACKNOWLEDGEMENT TAKEN IN NEW YORK STATE

State of New York, County of , 8S:

On the day of i

: Kean
undersigned, personally appedr 2 sonally known to
me or proved to me on the basis § satisfactory evidence to be
the individual(s} whose name(s) is (are) subscribed to the within
instrument and acknowledged to me that he/she/they execuled
the same in his/her/their capacityGes), and that by his/her/their

the year , before me, the

eo

signaturce(s) on the instrument, the individual(s), or the person
upon behalf of which the individyal(s yoacted, executed the

instrument. i
) C.

NOTARY PUBLTG—

 
 

ic, State of Ney:
No. 02MA6202055
Qualified in Nassau Count
Commission Expires March 9

ACKNOWLEDGEMENT BY SUBSCRIBING WITNESS
TAKEN IN NEW YORK STATE

State of New York, County of ss:

’

On the , before me, the

undersigned, a Notary Public in and for said State, personally

day of in the year

appeared , the subscribing witness to the foregoing
instrument, with whom [ am personally acquainted, who, being
by me duly sworn, did depose and say that he/she/they reside(s)
in (if the place of residence is in a city, include the street
and street number if any, thercof); that he/she/ihey know(s)

lo be the individual described in and who executed the
foregoing instrument, that said subscribing witness was present
and saw said execute the same; and that said witness at
the same time subscribed his/her/their name(s) as a witness
thereto.

Doc 1. Fued Vofe/izo Entered O0/2//25 LoiQo10o

ACKNOWLEDGEMENT TAKEN IN NEW YORK STATE

State of New York, County of , $8:

On the
undersigned, personally appeared
me or proved to me on the basis of satisfactory evidence to be

day of in the year , before me, the

, personally known to

the individual(s) whose name(s) is (are) subscribed to the within
instrument and acknowledged to me that he/she/they executed
the same in his/her/their capacity(ies), and that by his/her/their
signature(s) on the instrument, the individual(s), or the person
upon behalf of which the individual(s) acted, executed the
instrument.

 

NQTARY PUBLIC

y

LOD

ACKNOWLEDGEMENT TAKEN OUTSIDE NEW YORK
STATE

State of . County of LSS

On the . before me,

the undersigned personally appeared

day of in the year
personally known to
me or proved to me on the basis of satisfactory evidence to be
the individual(s) whose name(s) is (are) subscribed to the within
instrument and acknowledged lo me that he/she/they executed
the same in his/her/their capacity(ies), that by his/her/their
signature(s) on the instrument, the individual(s) or the person
upon behalf of which the individual(s) acted, executed the
instrument, and that such individual make such appearance
before the undersigned in the (add the city or political

subdivision and the or other place the

acknowledgement was taken).

slate or country

 

 

NOTARY PUBLIC

NOTARY PUBLIC

 

Bargain & Sale Deed
With Covenants

TO

Title No.

 

 

DISTRIBUTED BY
INN™
JUDICIAL, TIPLE

T: 800-281-TITLE — F: B00-FAX-9396

 

 

COUNTY:
TOWNICITY:
PROPERTY ADDRESS:
SECTION:

BLOCK:

LOT:

RETURN BY MAIL TO:

 

 

 

 
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY

Issued on behalf of
WFG National Title Insurance Company

Section/Block/Lot: 4 GANLEY STREET EAST HAMPTON, NY 11956
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY
Issued on behalf of
WFG National Title Insurance Company

SCHEDULE A

SCHEDULE A: From DEED LIBER 12368 PAGE 289

ALL that certain plot, piece or parcel of land, with the buildings and improvements thereon
erected, situate, lying and being in the Town of East Hampton, County of Suffolk and State
of

New York, known and designated as Lots 62 to 69 inclusive and part of Lot 70 in Block 1 on
a

certain map entitled, "Map of Montauk Shores" and filed in the Office of the Suffolk County
Clerk

on May 21, 1927 as Map No. 156 said lots and part of lot being bounded and described as
follows:

BEGINNING at a point on the northeasterly side of First Avenue distant 270.00 feet westerly
as

measured along the same from the corner formed by the intersection of the northwesterly
side

of Main Street with the northeasterly side of First Avenue;

RUNNING THENCE along the northeasterly side of First Avenue north 57 degrees 21 minutes
31

seconds west 170.00 feet;

RUNNING THENCE north 32 degrees 38 minutes 29 seconds east 100.00 feet;

RUNNING THENCE south 57 degrees 21 minutes 31 seconds east 170.00 feet;

RUNNING THENCE south 32 degrees 38 minutes 29 seconds west 100.00 feet to the
northeasterly side of First Avenue at the point or place of BEGINNING.

Section: 182.00 Biock: 01.00 Lot: 004.001
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY

issued on behalf of
WFG National Title Insurance Company

10.
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY
Issued on behalf of
WFG National Title Insurance Company

SURVEY READING
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY

Issued on behalf of
WFG National Title Insurance Company

MORTGAGES

Notes

All terms and conditions of the mortgage noted herein are not set forth. The applicant should acquaint (him/her)self with such
facts before closing title.

The above mortgage, unless it is to be insured, will appear as an exception in our title policy
if not satisfied or otherwise disposed of. If its status is in any way changed prior to closing,
please notify the company. Inasmuch as the provisions of a mortgage are often modified by
unrecorded agreements, and since all the terms and conditions of the above mortgage are
not set forth, we suggest that you contact the mortgagee for further information.
Case o-25-/2504-ast Docl Filed OO/¢2//25 Entered Vo0/2 fiz 19:00700

First Choice Settlement, LLC Title No.: FCS33844-NY

Issued on behalf of
WFG National Title Insurance Company

DEPARTMENTAL SEARCHES

Any searches or returns reported herein are furnished FOR INFORMATION ONLY. They will
not be insured and the Company assumes no liability for the accuracy thereof. They will not
be continued to the date of closing.

 

 

 

 

 

 

 

 

 

HOUSING & BUILDING None Requested
FIRE None Requested
HIGHWAY None Requested
COFO None Requested
BANKRUPTCY None Requested
EMERGENCY REPAIRS None Requested
AIR RESOURCES None Requested
FUEL OIL PERMIT None Requested
BOARD OF HEALTH None Requested
SEWER SEARCH None Requested

 

FLOOD HAZARD CERTIFICATION None Requested

 

NOTE: In New York City, if there is a STREET VAULT, it is suggested that applicant
investigate possible unpaid license fees by the City of New York for the use of such vault,
because the right to maintain |S NOT INSURED, nor does the Company insure that the vault
charges have been paid.
